         Case 1:23-cv-00604-APM Document 43 Filed 05/04/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 HEALTHY GULF, et al.

                              Plaintiffs,

        v.                                              Civil Action No. 23-cv-00604-APM

 DEBRA A. HAALAND, et al.

                              Defendants.




FEDERAL DEFENDANTS’ RESPONSE TO AMERICAN PETROLEUM INSTITUTE’S
               MOTION FOR LEAVE TO INTERVENE
       Federal Defendants hereby respond to the American Petroleum Institute’s (“API”) motion

for leave to intervene, ECF No. 40. Federal Defendants take no position on API’s intervention.

       Respectfully submitted this 4th day of May, 2023,


                                                   TODD KIM
                                                   Assistant Attorney General
                                                   Environmental & Natural Resource Division


                                                   /s/ Luther L. Hajek
                                                   Senior Attorney
                                                   United States Department of Justice
                                                   Environment and Natural Resources
                                                   Division
                                                   999 18th St.
                                                   South Terrace – Suite 370
                                                   Denver, CO 80202
                                                   Tel: 303-844-1376 / Fax: 303-844-1350
                                                   E-mail: luke.hajek@usdoj.gov



                                               1
Case 1:23-cv-00604-APM Document 43 Filed 05/04/23 Page 2 of 3




                                  /s/ Alexis G. Romero
                                  Trial Attorney (D.C. Bar: 90006907)
                                  United States Department of Justice
                                  Environment & Natural Resources Division
                                  Natural Resource Section
                                  P.O. Box 7611,
                                  Washington, DC 20044-7611
                                  Tel: 203-353-5885
                                  E-mail: alexis.romero@usdoj.gov


                                  Attorneys for Federal Defendants.




                              2
         Case 1:23-cv-00604-APM Document 43 Filed 05/04/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of May, 2023, I filed the above pleading with the

Court’s CM/ECF system, which provided notice of this filing by e-mail to all counsel of record.




                                                            /s/ Luther L. Hajek
                                                            Luther L. Hajek




                                                3
